Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 1 of 22 PageID 213




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION

FALLS LAKE NATIONAL INSURANCE
COMPANY,

      Plaintiff,                            CASE NO: 3:21-cv-00828

vs.

AJD BUSINESS SERVICES, INC.,
RUSSEL ROGATENKO, and MELISSA
DZION,

      Defendants.
____________________________________/

               DEFENDANT MELISSA DZION’S ANSWER &
           AFFIRMATIVE DEFENSES TO AMENDED COMPLAINT
                              AND
                COUNTERCLAIM AGAINST FALLS LAKE

      Defendant, Melissa Dzion, hereby answers the Amended Complaint for

Declaratory Relief as follows:

      1.     Admitted that Falls Lake effectuated a partial settlement of some

claims during the litigation and that it is seeking a declaration that “it has no

responsibility for the judgment.” The remaining allegations in paragraph 1 are

Denied.

      2.     Admitted there is complete diversity of citizenship between plaintiff
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 2 of 22 PageID 214




and defendants; otherwise, without knowledge and therefore Denied.

      3.     Admitted.

      4.     Defendant Dzion lacks sufficient information to determine the

accuracy of this allegation, and it is therefore Denied.

      5.     Admitted as to everything but the implication that the liability

coverage of $1,000,000 was the “only” coverage available under the policy.

      6.     Admitted.

      7.     Admitted. However, after Falls Lake refused to continue defending

Rogatenko, he was forced to file bankruptcy and was dismissed from the

underlying case in early 2020 as a result of the federal stay.

      8.     Admitted.

      9.     Admitted that on 9-4-2017, Rogatenko was driving for AJD and that

his negligence was a legal cause of the death of Connor Dzion. The remaining

allegations in paragraph 9 are Denied as phrased.

      10.    Admitted.

      11.    Admitted.

      12.    Admitted that the Falls Lake policy in place at the time of the

accident provides $1 million in liability coverage. The remaining allegations in



                                          2
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 3 of 22 PageID 215




paragraph 12 are Denied as phrased.

      13.    Denied.

      14.    Admitted.

      15.    Denied as phrased.

      16.    Denied as phrased.

      17.    Defendant Dzion lacks sufficient information to determine the

accuracy of this allegation, and it is therefore Denied.

      18.    Denied.

      19.    Admitted that on or about February 15, 2019, Melissa Dzion, as the

Personal Representative of the Estate of Connor Dzion, deceased, executed the

document attached to Plaintiff’s Amended Complaint as Exhibit “B.”         The

document speaks for itself.     The remaining allegations in paragraph 19 are

Denied as phrased.

      20.    Admitted that Fall’s Lake paid $1,000,000 on behalf of AJD and

Rogatenko. The remaining allegations in paragraph 20 are Denied.

      21.    Denied.

      22.    Admitted.

      23.    Defendant Dzion lacks sufficient information to determine the



                                          3
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 4 of 22 PageID 216




accuracy of this allegation, and it is therefore Denied.

      24.    Admitted that Falls Lake “withdrew from participating in the

defense of AJD and Rogatenko[.]” The remaining allegations in paragraph 24 are

Denied.

      25.    Defendant Dzion does not understand what Plaintiff means by its

statement that Dzion “never challenged the exhaustion of the Falls Lake policy.”

As such, Defendant Dzion lacks sufficient information to determine the accuracy

of this allegation as to Dzion. Defendant Dzion also lacks sufficient information

to determine the accuracy of this allegation as to AJD and Rogatenko.

Accordingly, paragraph 25 is Denied in its entirety.

      26.    Admitted that Exhibit “E” referenced is a true and correct copy of

the jury’s verdict against AJD. The remaining allegations in paragraph 26 are

Denied.

      27.    Admitted.

      28.    Defendant Dzion lacks sufficient information to determine the

accuracy of this allegation, and it is therefore Denied.

                               Count I - Exhaustion

      29.    Defendant Dzion incorporates her prior responses to paragraphs 1



                                          4
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 5 of 22 PageID 217




through 28.

      30.     Admitted that the policy contains the quoted language; otherwise,

Denied.

      31.     Admitted that Falls Lake settled the wrongful death claim for

$1,000,000, as reflected in Exhibit “B” to Plaintiff’s Amended Complaint. The

remaining allegations in paragraph 31 are Denied.

      32.     Denied.

                          Count II – Punitive Damages

      33.     Defendant Dzion incorporates her prior responses to paragraphs 1

through 28.

      34.     Admitted that the policy contains the quoted language; otherwise,

Denied.

      35.     Admitted.

      36.     Denied as phrased.

      Count III – Coverage for Punitive Damages is Against Public Policy

      37.     Defendant incorporates her prior responses to paragraphs 1 through

28.

      38.     Denied.



                                        5
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 6 of 22 PageID 218




      To the extent that the “Wherefore” clause following paragraph 38 contains

any additional allegations against Defendant Dzion, such allegations are Denied.

                           AFFIRMATIVE DEFENSES

                            First Affirmative Defense

      The automotive policy at issue was “issued and delivered in New York”

by Falls Lake. (Amd. Compl. par. 11). Under the doctrine of lex loci contractus,

New York law applies to issues concerning the validity of provisions of the Falls

Lake policy. The provision relied on by Falls Lake to justify abandoning its

insureds mid-litigation after rejecting a prior offer to resolve the entire case for

the policy limits was and is illegal under New York law, and, thus, ineffective to

relieve Falls Lake of its duty to defend AJD through the conclusion of the

litigation. See, e.g., 11 NYCRR § 60-1.1(b) (entitled “Mandatory Provisions”);

Liberty Mut. Fire Ins. Co. v. Nat'l Cas. Co., 90 A.D.3d 859, 935 N.Y.S.2d 319 (2011)

(holding that “11 NYCRR § 60-1.1(b) has been interpreted as requiring an

automobile liability insurer to pay all defense costs until a case ends and not

excusing it from providing a full defense by payment of its policy limit” and thus

holding that the conflicting language in the policy which purports to terminate

the liability insurer’s duty to defend upon the exhaustion of its policy limits is



                                         6
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 7 of 22 PageID 219




unenforceable).

                          Second Affirmative Defense

      Falls Lake is not entitled to the relief it now seeks under the doctrine of

unclean hands. Fall Lake’s prior breach of its contractual obligations and its duty

of good faith preclude plaintiff from seeking to invoke this Court’s equitable

jurisdiction.

      Falls Lake owed its insured, AJD Business Services, Inc. (“AJD”) a duty of

good faith in all aspects of its handling of the underlying claims and defense of

the underlying lawsuit. Prior to terminating its defense, Falls Lake breached that

duty of good faith by failing to settle when it could and should have done so,

had it been acting fairly and honestly toward its insured AJD and with due

regard for AJD’s interests. Thereafter, Falls Lake acted in bad faith and breached

its contractual duty to defend AJD when it wrongfully refused to continue

defending AJD from the underlying lawsuit and abandoned its insured during

thependency of the litigation.

                  COUNTERCLAIM AGAINST FALLS LAKE

      Counter-Plaintiff, Melissa Dzion, hereby brings this action against

Counter-Defendant, Falls Lake National Insurance Company (“Falls Lake”), and



                                         7
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 8 of 22 PageID 220




alleges:

       1.     This is an action for damages in excess of $75,000.00, over which this

Court has jurisdiction under 28 U.S.C. § 1332.

       2.     Melissa Dzion is a citizen of Florida.

       3.     At all relevant times, Falls Lake was and is an Ohio corporation,

with its principal place of business in North Carolina.

       4.     This Court is a proper venue under 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claim occurred in

this judicial district.

       5.     At all relevant times, AJD Business Services Inc. (“AJD”) owned a

2017 HINO commercial truck bearing VIN 5PVNJ8JV8H4S64079 (hereinafter

“AJD’s truck”, or the “HINO truck”).

       6.     At all relevant times, AJD had the right to possess and control the

HINO truck.

       7.     At all relevant times, Russel Rogatenko was employed by AJD as a

truck driver, and serving as its employee or agent.

       8.     At all relevant times, Rogatenko possessed AJD’s truck with the

knowledge and consent of AJD.



                                           8
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 9 of 22 PageID 221




      9.       Rogatenko never had Commercial Driver’s License (instead only

carrying a Class E license).

      10.      As of September 4, 2017, Rogatenko was a dangerous driver, unfit to

operate a commercial truck in interstate commerce, with a criminal, traffic,

licensure and driving history that included:

            a. Texting while driving

            b. Multiple prior crashes rear-ending vehicles

            c. Careless Driving x 2

            d. Robbery, 3 years prison

            e. Attempted Robbery, 3 years prison

            f. Criminal Driving with No Valid (Suspended) License

            g. Speeding 80 in 65 (on I-95)

            h. Arson to Property to Defraud, 5+ years prison

            i. Overweight Violation in CMV (Nassau County, I-95)

            j. Speeding (Flagler County)

            k. Attempted Burglary, 5 years prison (parole supervision end August

               3, 2017)

            l. Driving with Expired Registration



                                             9
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 10 of 22 PageID 222




            m. Aggressive Driving speed 95mph (70 zone) on I-95 southbound,

              Following Too Closely, March 8, 2017

            n. Record of Duty Status Log Book Violation, CMV, (Nassau County, I-

              95), July 16, 2017

            o. Careless driving CMV, cause rear-end CRASH, on I-95 approaching

              SR 200 in Nassau County Florida, July 16, 2017

      11.     At all relevant times, including on September 4, 2017, AJD allowed

and even encouraged Rogatenko to drive illegally and over hours in AJD’s truck.

      12.     On September 4, 2017, at approximately 9:10 p.m., Rogatenko was

driving AJD’s truck within the course and scope of his employment with AJD on

Interstate-95 (“I-95”) southbound approaching the intersection of Florida SR 200

in Nassau County, Florida.

      13.     At that time and place, while speeding and distracted by his cell

phone, Rogatenko negligently operated the AJD truck such that he caused a rear-

end collision.

      14.     The AJD truck flipped and came to a rest in the roadway blocking

the travel lanes of I-95 South, approaching the SR 200 exit.

      15.     As a direct and proximate result of the collision, traffic was backed



                                         10
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 11 of 22 PageID 223




up and forced to stop on I-95 South.

      16.    As a direct and proximate result of the collision and ensuing traffic

backup, Connor Dzion was forced to stop his car on I-95 South, immediately

north of the Rogatenko/AJD crash scene.

      17.    On September 4, 2017, at approximately 10:34 p.m., while at a dead

stop in traffic on I-95 South, Connor Dzion’s car was rear-ended by a tractor

trailer owned by Kahkashan Carrier Inc. (“KCI”), whose driver failed to perceive

the traffic backup in time to avoid the collision.

      18.    Although Connor lived for a short while after his vehicle was hit by

the KCI truck, he died and was pronounced dead at the scene.

      19.    Connor’s mother, Melissa Dzion, and brother, Colin Dzion, went to

the crash scene in search of Connor, uncertain of his fate.

      20.    Melissa Dzion eventually found Connor’s crushed car and learned

from first responders that Conner, whose body lay motionless on the roadway,

had died.

      21.    Melissa Dzion was distraught and overcome with grief due to

witnessing the horror of the immediate aftermath of this violent collision, the

scene, and the severe injury and death to her son Connor.



                                          11
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 12 of 22 PageID 224




      22.    On September 4, 2017, AJD and Rogatenko were insured against

liability claims arising out of the operation and use of the AJD truck under a

policy of automobile insurance issued by Falls Lake, having combined bodily

injury liability and property damage liability limits of $1 million per occurrence

(“the Policy”). A complete, accurate copy of the Policy is available at Dkt. 5-1.

      23.    The Policy was in full force and effect on the date of loss.

      24.    AJD and Rogatenko complied with all terms and conditions of the

Policy.

      25.    Colin Dzion and Melissa Dzion, individually, made claims against

AJD and Rogatenko for negligent infliction of emotional distress.

      26.    Melissa Dzion, as personal representative of the Estate of Connor

Dzion, made a wrongful death claim against AJD and Rogatenko.

      27.    The Dzions’ claims against AJD and Rogatenko were covered by the

Policy.

      28.    Given the nature of the collision and the significant losses suffered

by the Dzions, a reasonably prudent person faced with the prospect of paying

Dzions’ claims would have settled those claims within the limits of available

coverage if it had been possible to do so.



                                         12
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 13 of 22 PageID 225




          29.   Considering Melissa Dzion’s allegations regarding Rogatenko’s and

AJD’s conduct and all the circumstances surrounding the collision, Falls Lake

knew or reasonably should have known that in addition to the compensatory

damages for the wrong death of a child, the Dzions’ would seek to recover

punitive damages if Falls Lake did not settle the Dzions claims within the Policy

limits.

          30.   On November 6, 2017, the Dzions’ attorneys sent Falls Lake a letter

expressly offering to settle all claims against AJD and Rogatenko which arose

from the collision for the payment of the $1 million liability limits.

          31.   Falls Lake requested and received a 30-day extension of time to

respond to the Dzions’ settlement offer.

          32.   On January 4, 2018, Falls Lake’s attorney responded to reject the

Dzions’ settlement offer.

          33.   In that January 4, 2018 letter, Falls Lake did not make any offer to

settle the Dzions’ claims.

          34.   On or about January 11, 2018, Melissa Dzion, individually and as

personal representative of the Estate of Connor Dzion, and Colin Dzion filed a

lawsuit against AJD and Rogatenko, among others, in Duval County, Florida.



                                           13
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 14 of 22 PageID 226




That lawsuit was ultimately transferred to Nassau County, Florida, and assigned

Case No. 2018-CA-000148.

      35.    Falls Lake initially undertook to defend AJD and Rogatenko from

the underlying lawsuit.

      36.    On or about February 15, 2019, Falls Lake agreed to tender AJD and

Rogatenko’s $1 million policy limits in exchange for a release from Melissa

Dzion, as Personal Representative of the Estate of Connor Dzion, for only the

wrongful death case. A complete, accurate policy of the “General Release and

Settlement Agreement” is available at Dkt. 5-2.

      37.    Melissa Dzion’s claim for negligent infliction of emotional distress

was explicitly carved out from the General Release and Settlement Agreement,

such that it would remain pending in the underlying lawsuit after the settlement

and proceed to verdict.

      38.    Notwithstanding, following the execution of the General Release

and Settlement Agreement, Falls Lake terminated its defense of AJD and

Rogatenko.

      39.    Falls Lake took the position that it was permitted to terminate its

defense under a provision in the Policy which states: “Our duty to defend or



                                        14
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 15 of 22 PageID 227




settle ends when the Covered Autos Liability Coverage Limit of Insurance has

been exhausted by payment of judgments or settlements.”

      40.   The above-quoted Policy provision is illegal and unenforceable.

      41.   On or about March 14, 2019, AJD’s and Rogatenko’s counsel, which

had been appointed by Falls Lake, filed a motion to withdraw, stating it was

instructed to do so by “the insurance carrier.”    That motion was ultimately

granted.

      42.   Rogatenko eventually filed for bankruptcy and was dismissed from

the underlying lawsuit.

      43.   However, Melissa Dzion continued to litigate her claim for negligent

infliction of emotional distress against AJD.

      44.   After AJD’s counsel withdrew at the instruction of Falls Lake, AJD

was left undefended.

      45.   AJD did not have the financial means or wherewithal to hire its own

defense attorneys.

      46.   On or about June 28, 2021, AJD was defaulted for failing to file an

answer or otherwise respond to the operative Complaint.

      47.   Melissa Dzion’s claims against AJD proceeded to trial, at which AJD



                                         15
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 16 of 22 PageID 228




was undefended.

      48.      On August 20, 2021, the jury awarded Melissa Dzion $16 million as

compensatory damages, plus an additional $900 million in punitive damages, on

her claim against AJD. A complete, accurate copy of the verdict is available at

Dkt. 5-5.

      49.      On August 24, 2021, the trial court entered final judgment pursuant

to the jury verdict in favor of Melissa Dzion and against AJD, a complete,

accurate copy of which is available at Dkt. 5-6.

      50.      Dzion has standing to bring this action as a judgment creditor to

Falls Lake’s insured, AJD, and as a third-party beneficiary to Falls Lake’s contract

with AJD.

      51.      Falls Lake owed AJD a non-delegable fiduciary duty to protect it

from a judgment that exceeded its limits of liability insurance and to act in its

best interest throughout the handling of Dzion’s claim.

      52.      This fiduciary duty obligated Falls Lake to, among other things:

            a. act fairly and honestly and with due regard for the interests of its

               insured;

            b. exercise reasonable diligence and a level of care commensurate with



                                          16
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 17 of 22 PageID 229




            the undertaking, in every aspect of handling Dzion’s claim against

            its insured;

         c. work on the insured’s behalf to avoid an excess judgment with the

            same haste and precision as if it were in the insured’s shoes;

         d. settle Dzion’s claims against its insured, when, under all the

            circumstances of the case, it could have and should have done so

            had it acted fairly and honestly, and with due regard for the

            interests of its insured;

         e. adopt and implement standards for the proper investigation and

            handling of liability claims, commensurate with the needs of the

            types of claims reasonably anticipated to be presented against its

            insured;

         f. properly train adjustors and claims personnel for the types of claims

            which would be undertaken by those employees;

         g. communicate with the insured candidly and with complete

            integrity, and keep the insured informed of the claim resolution

            process;

         h. fully, honestly and promptly advise the insured concerning any



                                        17
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 18 of 22 PageID 230




                  settlement opportunities, of the likelihood of a recovery in excess of

                  the policy limits, of the steps they might take to avoid the same, and

                  of any procedures which were available to lessen the financial

                  impact of the underlying claims against it;

             i. provide an adequate, conflict-free defense for the insured for the

                  duration of the underlying litigation;

             j. avoid putting Falls Lake’s own interests ahead of its insured’s

                  interests; and

             k. handle the bodily injury claims in accordance with applicable laws,

                  statutes, governmental and industry regulations that establish the

                  obligations and standard of conduct for liability insurance

                  companies handling claims, as well as Falls Lake’s own policies.

       53.        Falls Lake breached its non-delegable fiduciary duties owed to AJD

by, inter alia,

             a. failing to act fairly and honestly and with due regard for the

                  interests of its insured;

             b. failing to exercise reasonable diligence and a level of care

                  commensurate with the undertaking, in every aspect of handling



                                              18
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 19 of 22 PageID 231




            Dzion’s claim against its insured;

         c. failing to work on the insured’s behalf to avoid an excess judgment

            with the same haste and precision as if it were in the insured’s shoes;

         d. failing to settle Dzion’s claims against its insured, when, under all

            the circumstances of the case, it could have and should have done so

            had it acted fairly and honestly, and with due regard for the

            interests of its insured;

         e. failing to adopt and implement standards for the proper

            investigation and handling of liability claims, commensurate with

            the needs of the types of claims reasonably anticipated to be

            presented against its insured;

         f. failing to properly train adjustors and claims personnel for the types

            of claims which would be undertaken by those employees;

         g. failing to communicate with the insured candidly and with complete

            integrity, and keep the insured informed of the claim resolution

            process;

         h. failing to fully, honestly and promptly advise the insured

            concerning any settlement opportunities, of the likelihood of a



                                        19
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 20 of 22 PageID 232




               recovery in excess of the policy limits, of the steps they might take to

               avoid the same, and of any procedures which were available to

               lessen the financial impact of the underlying claims against it;

            i. failing to provide an adequate, conflict-free defense for the insured

               for the duration of the underlying litigation;

            j. putting Falls Lake’s own interests ahead of its insured’s interests;

               and

            k. failing to handle the bodily injury claims in accordance with

               applicable laws, statutes, governmental and industry regulations

               that establish the obligations and standard of conduct for liability

               insurance companies handling claims, as well as Falls Lake’s own

               policies.

      54.      As a direct and proximate result of Falls Lake’s breaches of these

duties, Dzion’s claims against AJD did not settle within the amount of available

insurance coverage, and AJD suffered damages, including the entry of the final

judgment available at Dkt. 5-6.

      55.      All conditions precedent to bringing this action have occurred or

been excused.



                                           20
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 21 of 22 PageID 233




       WHEREFORE, Counter-Plaintiff, Melissa Dzion, demands judgment

against Counter-Defendant, Falls Lake National Insurance Company, in excess of

$75,000, including all consequential damages and all unpaid and unsatisfied

amounts of the final judgment and interest on those elements of damages upon

which interest may be recovered, plus costs of this action and attorney’s fees to

the extent allowed by law.

                           DEMAND FOR JURY TRIAL

       Defendant / Counter-Plaintiff, Melissa Dzion, demands a trial by jury on

all issues so triable.

                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY than on September 22, 2021, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will

send a notice of electronic filing to the following:

      Sina Bahadoran & Sergio Bueno (counsel for Falls Lake National
Insurance Company);

                                        PAJCIC & PAJCIC, P.A.

                                        /s/ Benjamin E. Richard
                                        ___________________________
                                        BENJAMIN E. RICHARD
                                        Florida Bar No.: 13896
                                        CURRY GARY PAJCIC


                                          21
Case 3:21-cv-00828-TJC-MCR Document 7 Filed 09/22/21 Page 22 of 22 PageID 234




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                                     22
